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             1 Kathleen P. March (Bar No. 80366)
               THE BANKRUPTCY LAW FIRM, PC
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               Los Angeles, CA 90064
             3 Phone (310) 559-9224
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             4 e-mail: kmarch@BKYLAWFIRM.com
               Attorneys for Defendant Pacific Motors, a CA Corp.
             5
                                           UNITED STATES BANKRUPTCY COURT
             6
                                       EASTERN DISTRICT OF CALIFORNIA (MODESTO)
             7
             8    In re:                         Chapter 13
                                                 Case No.17-90400      Adv. Proc No. 17-09005
             9                                   NOTICE OF CONTINUANCE: MOVANTS
           10     JAMELIA ANTOINETTE             PACIFIC MOTORS, AND THE BANKRUPTCY
                                                 LAW FIRM, PC, HEREBY CONTINUE THE
           11     ROBINSON
                                                 HEARING--FROM 5/15/18 AT 10AM, TO 6/19/18
           12                                    AT 10AM–OF MOVANTS’ MOTION TO
           13                                    DISMISS HEREIN ADVERSARY PROCEEDING,
                  Debtor                         UNLESS ROBINSON’S COUNSEL, NEELEY,
           14     ____________________           HAS REIMBURSED LAW FIRM, FOR THE 10
           15                                    HOURS OF ATTORNEY TIME (4AM TO 2PM)
                  JAMELIA ANTOINETTE             SPENT TRAVELING FROM LA TO
           16                                    SACRAMENTO, AND BACK, PLUS $202 AIR
                  ROBINSON
           17                                    FARE, PLUS $78.60 TAXIS, SPENT TO ATTEND
                                                 3/22/18 PRETRIAL CONFERENCE, IN PERSON,
           18                       Plaintiff-
                              Debtor             AS REQUIRED, WHICH PLAINTIFF’S
           19     versus                         COUNSEL NEELEY FAILED TO ATTEND IN
           20     PACIFIC MOTORS,                PERSON

           21     A CA CORP.                     Continued (New) Hearing date for this Motion to Dismiss is:
                                                 Date: June 19, 2018
           22         Defendant                  Time: 10:00am
                                                 Place: Modesto Division, 1200 I St, Suite 4, Modesto CA
           23
                                                 Originally Noticed Hearing date was:
           24                                    Date: May 15, 2018
                                                 Time: 10:00am
           25                                    Place: Modesto Division, 1200 I St, Suite 4, Modesto CA
                  _
           26                                     [Defendant’s counsel will appear by phone via Court Call
                                                 system]
           27
           28              PLEASE TAKE NOTICE that Movants Pacific Motors and The Bankruptcy
                 Law Firm, PC hereby continue the hearing date on Movants’ Motion moving the

                 NOTICE OF CONTINUANCE: MOVANTS PACIFIC MOTORS, AND THE BANKRUPTCY LAW FIRM,
                 PC, CONTINUE THE HEARING–FROM 5/15/18 TO 6/19/18–OF THEIR MOTION TO DISMISS ADV
                 PROC. UNLESS NEELEY, ESQ. REIMBURSES LAW FIRM, FOR WASTED TRIP TO SACRAMENTO -1-
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             1 Bankruptcy Court to dismiss the herein Robinson v. Pacific Motors adversary
             2 proceeding, unless before the hearing date, Kenneth Neeley, Esq., has reimbursed
             3 Law Firm for attorney Kathleen P. March, Esq. of Law Firm’s wasted trip from LA
             4 to Sacramento and back, on 3/22/18, for the Pretrial Conference in said adversary
             5 proceeding, which Neeley was required to attend, in person, as plaintiff Robinson’s
             6 counsel, but which Neeley failed to attend in person.
             7        Said Motion is item #29 on the adversary proceeding docket, and was efiled
             8 3/27/18. By this Notice, Movants continue the hearing date of said Motion from the
             9 originally noticed hearing date of 5/15/18 at 10:00am, to June 19, 2018 at 10:00am,
           10 still at the location stated on page 1 hereof.
           11         This Continuance is necessary due to the fact that the Court set for hearing, on
           12 5/31/18, Pacific Motors Motion for entry of written order to memorialize the Court’s
           13 oral ruling, made at the 3/22/18 pretrial conference, that attorney Neeley was required
           14 to reimburse the time and costs of Pacific Motors counsel March, of The Bankruptcy
           15 Law Firm, PC, spent traveling from LA to Sacramento for the 3/22/18 pretrial
           16 conference, which could not go forward because Neeley failed to attend in person.
           17 Until the Court enters a written Order ordering Neeley to reimburse March’s
           18 time/costs, it is premature for the Court to hear the Motion to Dismiss the herein
           19 Adversary Proceeding, unless Neeley reimburses March’s time/costs.
           20         Due to the Motion being continued for hearing to June 19, 2018 at 10:00am,
           21 Movants hereby modify their Motion, to request that the Court order the adversary
           22 proceeding dismissed, if Neeley has not reimbursed attorney March for her wasted
           23 trip, before the continued, June 19, 2018 at 10:00am hearing date of Motion.
           24
           25 Dated: April 30, 2018       THE BANKRUPTCY LAW FIRM, PC
                                                 /s/ Kathleen P. March
           26                             By Kathleen P. March, Esq., counsel for Pacific Motors,
                                          and for Law Firm, on the herein Motion to Dismiss
           27
           28



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                 PROC. UNLESS NEELEY, ESQ. REIMBURSES LAW FIRM, FOR WASTED TRIP TO SACRAMENTO -2-
Filed 04/30/18                                                       Case 17-09005                                                                   Doc 41



                                             PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                              10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

    A true and correct copy of the foregoing document entitled: NOTICE
                                                     OF CONTINUANCE: MOVANTS
    PACIFIC MOTORS, AND THE BANKRUPTCY LAW FIRM, PC, HEREBY CONTINUE THE
    HEARING--FROM 5/15/18 AT 10AM, TO 6/19/18 AT 10AM–OF MOVANTS’ MOTION TO DISMISS
    HEREIN ADVERSARY PROCEEDING, UNLESS ROBINSON’S COUNSEL, NEELEY, HAS
    REIMBURSED LAW FIRM, FOR THE 10 HOURS OF ATTORNEY TIME (4AM TO 2PM) SPENT
    TRAVELING FROM LA TO SACRAMENTO, AND BACK, PLUS $202 AIR FARE, PLUS $78.60
    TAXIS, SPENT TO ATTEND 3/22/18 PRETRIAL CONFERENCE, IN PERSON, AS REQUIRED,
    WHICH PLAINTIFF’S COUNSEL NEELEY FAILED TO ATTEND IN PERSON
    will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
    the manner stated below:

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
    Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 04/30/18
    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
    persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    Stuart M. Price, Price Law Group, APC Co-Counsel for Plaintiff: stuart@pricelawgroup.com
    L. Tegan Hurst, Price Law Group, Co-Counsel for Plaintiff: tegan@pricelawgroup.com
    Kenneth L. Neeley, Neeley Law Firm, PLC, Co-Counsel for Plaintiff: ecf@neeleylaw.com
                                                                                                Service information continued on attached page

    2. SERVED BY UNITED STATES MAIL:
    On N/A I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
    proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
    prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
    completed no later than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
    for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on N/A, I served the following persons
    and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
    method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
    delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                                Service information continued on attached page

    I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

     04/30/18                 Kathleen P. March                                                     /s/ Kathleen P. March
     Date                           Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
